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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND
                                (Northern Division)
____________________________________
                                      )
DAVID J. BOSHEA,                      )
                                      )
            Plaintiff,                )
                                      )
                   v.                 )     Case No.: 1:21-CV-00309-ELH
                                      )
COMPASS MARKETING, INC.,              )
                                      )
            Defendant.                )
____________________________________)

             UNCONTESTED MOTION TO AMEND APRIL 10, 2024 ORDER

       David Boshea respectfully moves under Rule 60 of the Federal Rules of Civil Procedure

for an order amending the Court’s April 10, 2024 order granting David Boshea’s Uncontested

Motion for Extension of Time to File Attorney Fee Motion and in support states:

       David Boshea filed a motion seeking an extension of time to file his fee application until

seven days following the disposition of the two posttrial motions filed by Defendant Compass

Marketing, Inc. Plaintiff’s current deadline is April 12, 2024.

       David Boshea submitted a proposed order, which mistakenly did not identify the period he

sought as an extension. Thus, the Court entered its order extending the period for filing the fee

application until April 19, 2024.

       David Boshea will undoubtedly incur fees after April 19, 2024, since his counsel will need

to review Compass’ reply brief and the Court’s order. Further, Compass has requested a hearing

on its motion. Although David Boshea does not support that motion, if the Court grants the motion

for a hearing, David Boshea will incur additional fees and costs.
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        To resolve the situation, David Boshea requests that the Court enter an order granting an

extension of time within which to file his fee application until seven days following disposition of

the two posttrial motions filed by Defendant Compass Marketing, Inc.

        Granting this motion will not prejudice Compass Marketing.

        The Defendant has consented to this request.

        WHEREFORE, Plaintiff David Boshea respectfully requests that the Court grant this Motion

and extend the deadline to file his petition as set forth above.

Dated: April 16, 2024                            Respectfully submitted,

                                                 /s/ Gregory J. Jordan
                                                 Gregory J. Jordan (Admitted Pro Hac Vice)
                                                 Jordan & Zito LLC
                                                 350 N. LaSalle Street, Suite 1100
                                                 Chicago IL 60654
                                                 (312) 854-7181
                                                 gjordan@jz-llc.com

                                                 Thomas J. Gagliardo (Bar No. 08499)
                                                 Of Counsel
                                                 Gilbert Employment Law, P.C.
                                                 1100 Wayne Ave, Suite 900
                                                 Silver Spring, Maryland 20910
                                                 tgagliardo@gelawyer.com
                                                 COUNSEL FOR DAVID J. BOSHEA




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                              CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the Motion to Amend April 10, 2024 Order was

served via this Court’s ECF system and by electronic mail on April 16, 2024 addressed to the

following:


Defendant’s Counsel:

Stephen B. Stern
stern@kaganstern.com

Shannon M. Hayden
hayden@kaganstern.com

Bruce L. Marcus
bmarcus@marcusbonsib.com

Justin A. Redd
jredd@kg-law.com

David B. Hamilton
David.hamilton@wbd-us.com



                                   /s/ Gregory J. Jordan
                                       Gregory J. Jordan
